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18-03-5291
                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

ESTATE OF COURTNEY                        )
COPELAND, Deceased, by                    )
SHAPEARL WELLS,                           )
Independent Administrator                 )
                                          )
                     Plaintiff,           )
              v.                          )      No.    18 CV 01596
                                          )
CITY OF CHICAGO, CHICAGO                  )      Honorable Rebecca R. Pallmeyer
POLICE OFFICER ANDREW                     )
BLOCK, CHICAGO POLICE                     )      Magistrate Judge Hon. Young B. Kim
OFFICER JAVIER ESCANIO,                   )
CHICAGO POLICE OFFICER                    )
RYAN LEON, UNKNOWN                        )
JOHN DOE CHICAGO POLICE                   )
OFFICERS 1-10, UNKNOWN                    )
CHICAGO FIRE DEPARTMENT                   )
 PERSONNEL 1-10                           )
                                          )
                     Defendants.          )

                UNOPPOSED MOTION FOR ENLARGEMENT OF TIME

       NOW COME the Defendants, CITY OF CHICAGO, a municipal corporation,

OFFICER ANDREW BLOCK, AND OFFICER JAVIER ESCANIO, by and through their

attorneys, HARTIGAN & O’CONNOR P.C., and hereby move, pursuant to the Federal

Rules of Civil Procedure, for an enlargement of time to answer or otherwise plead to

Plaintiff’s Complaint, within twenty-eight (28) days herein.

                                                        Respectfully Submitted,

                                                        /s/Michael R. Hartigan
                                                         Michael R. Hartigan, one of the
                                                         attorneys for the Defendants,
                                                         City of Chicago, a municipal
                                                         corporation,   Officer    Andrew
                                                         Block and Officer Javier Escanio
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.                    CERTIFICATE OF SERVICE VIA U.S MAIL

TO:    All attorneys of record (see service list below)

      The undersigned, an attorney, states that he served the foregoing document
upon each party to whom it is directed, by mailing same in properly addressed postage
paid envelopes and depositing same in the U.S. Mail chute at 53 West Jackson Blvd.,
Chicago, IL at or about 5:00 p.m. on this 22nd day of May, 2018.

                                                 /s/Michael R. Hartigan
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